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        UNITED STATES DISTRICT COURT FOR THE DISTRICT OF IDAHO
                            DISTRICT COURT


TELEPHONIC STATUS CONFERENCE:

District Judge: B. Lynn Winmill             Date: December 9, 2019
Deputy Clerk: Jamie Bracke                  Location: Telephonic
ESR: Jamie Bracke                           Time: 11:01 - 11:27 a.m.
                                            FTR Recorder: 5:22 - 5:48

                UNITED STATES OF AMERICA v. BABICHENKO, et al
                           CASE No. 1:18-cr-258-BLW


Counsel for the United States: Kate Horwitz and Christian Nafzger
Counsel for the Privilege Team: Sean Mazorol and Michael Mitchell
Counsel for Pavel Babichenko (1): John DeFranco
Counsel for Gennady Babitchenko (2): Jeffrey Brownson
Counsel for Piotr Babichenko (3): Paul Riggins
Counsel for Timofey Babichenko (4): Rob Lewis
Counsel for Kristina Babichenko (5): Greg Silvey
Counsel for Natalya Babichenko (6): JD Merris
Counsel for David Bibikov (7): Robyn Fyffe
Counsel for Anna Iyerusalimets (8): Dick Rubin and Melissa Winberg
Counsel for Mikhail Iyerusalimets (9): Ellen Smith
Counsel for Artur Pupko (10): Gabriel McCarthy
Coordinating Discovery Attorney: Russ Aoki

Telephonic Status Conference held on December 9, 2019. The following matters were discussed:

1) An update on the production of discovery documents;

2) Filter team progress and defense review team;

3) Government expert disclosure deadline; and

4) The status of appointment of counsel for Autur Pupko.

The next Telephonic Status Conference is scheduled for February 3, 2020 at 3:30 p.m. before Judge
B. Lynn Winmill. The call in information is as follows: dial in number 1-877-336-1828,access code
4685496, and security code 9555.
